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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


HFT SOLUTIONS, LLC,

            Plaintiff,                          Case No. 1:24-cv-13213

     v.
                                                JURY TRIAL DEMANDED
CITADEL SECURITIES LLC,

            Defendant.




    DEFENDANT CITADEL SECURITIES LLC’S MOTION TO DISMISS
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       The Supreme Court has long recognized that patent protection is not absolute and must be

limited to promote innovation and scientific advancement. For example, while Section 101 of the

Patent Act permits inventors to seek patent protection for “new and useful process, machine,

manufacture, or composition of matter, or any new and useful improvement thereof,” 35 U.S.C.

§ 101, there is an “important implicit exception: Laws of nature, natural phenomena, and abstract

ideas are not patentable” because they are the “basic tools of scientific and technical work,” Alice

Corp. Pty. Ltd. v. CLS Bank Int’l., 573 U.S. 208, 216 (2014) (emphasis added). Permitting

opportunistic patent seekers to monopolize those ideas would “impede innovation more than it

would tend to promote it.” Id.

       The three patents asserted by Plaintiff in this case are about “abstract ideas” and are thus

“not patentable.” See id. at 216. The claims of the Asserted Patents cover receiving, transmitting,

generating, and converting data and signals to synchronize “clocks.” Fundamentally, the claims

are about manipulating data, which numerous courts have recognized is abstract. See, e.g., iLife

Techs., Inc. v. Nintendo of Am., Inc., 839 F. App’x 534, 536 (Fed. Cir. 2021) (“We have routinely

held that claims directed to gathering and processing data are directed to an abstract idea.”);

Glasswall Solutions Ltd. v. Clearswift Ltd., 754 F. App’x 996, 998 (Fed. Cir. 2018) (“The claims

merely require the conventional manipulation of information by a computer. We have often held

similar conventional data manipulation to be abstract.”). And there is nothing about the claims that

would transform them into any more than the abstract idea at their core. The claims use well-

known computer components that have been in existence for decades in the conventional ways

they were designed to be used. See Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935 F.3d

1341, 1349 (Fed. Cir. 2019) (nothing transformative where claims “could be performed with off-

the-shelf technology”).



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       The Asserted Patents attempt to hide their abstract nature through “lengthy and numerous”

claims. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1351 (Fed. Cir. 2016) (“systems

and methods for performing real-time performance monitoring of an electric power grid” not

patent eligible, despite length). But all those extra words only use more space on the page to

describe the same fundamentally abstract concepts, which amount to little more than sending

information through well-known components. These claims are abstract and not eligible for patent

protection. The Court should dismiss the complaint.

                                        BACKGROUND

       The Asserted Patents involve field-programmable gate arrays, or FPGAs, for high-

frequency trading. High-frequency trading is a type of securities trading that relies on electronic

tools to make extremely short-term investments. See Lemke and Lims, Soft Dollars and Other

Trading Activities § 2:35 (West 2024-2025 ed.). Traders use computer algorithms to identify

“temporary inefficiencies or pricing anomalies in the market,” and then conduct “large trades at

extraordinary speeds—sometimes in microseconds” to take advantage of the best available prices.

Id. While many aspects of high-frequency trading are novel and unique, the fundamental building

blocks for sending signals between computer systems are not.

       High-frequency trading often uses FPGAs to carry out sophisticated, proprietary

algorithms. FPGAs are a type of computer chip invented in the mid-1980s. As the Asserted Patents

describe, FPGAs are not new. It was well-known at the time the Asserted Patents were filed that

“[f]ield programmable gate arrays (FPGAs) may be used in applications that require fast

processing since FPGAs allow for all computations to occur on a single chip that has massive fine-




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grained parallelism.” Ex. 1, ’381 patent at 1:39-42.1 Indeed, it was even known that “FPGAs are

used in the financial industry in high frequency trading where the rapid processing of the FPGA is

desired.” Id. at 1:42-43.

       The inventor of the Asserted Patents did not invent FPGAs. Nor do the Asserted Patents

claim any trading algorithms that might use FPGAs to effectuate high-speed trading. Instead, the

three Asserted Patents describe a “Field Programmable Gate Array with External Phase Locked

Loop.” The ’305 patent claims an FPGA with a phase locked loop (PLL)—which essentially links

the FPGA’s data processing with an external clock—and ’286 and ’381 patents claim methods of

processing data using such FPGAs.

       The inventor of the Asserted Patents also did not invent phase locked loops. A phase locked

loop is a method to ensure that data processed by an FPGA stays aligned with the timing of an

external clock. Every clock has a “frequency,” or unit by which it measures time. For example, a

typical wall clock has a frequency of one second, because it ticks every second. The “phase” of

the clock refers to where it is in its measurement cycle—for example, at the tick, halfway between

ticks, three-quarters of the way to a new tick, and so on. Thus, a “phase locked loop” ensures the

processes of the FPGA stay phase-aligned with the incoming clock’s phase. See All Computers,

Inc. v. Intel Corp., No. 1:04-CV-00586-G, 2005 WL 4904818, at *10 (E.D. Va. Feb. 9, 2005)

(reciting definition of phase locked loop from 1994 McGraw Hill Dictionary of Scientific and

Technical Terms). These processes, including clock synchronization, were known long before the

Asserted Patents. See, e.g., Ex. 1, ’381 patent at 2 (prior-art references include “Phase Frequency




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  The asserted patents are part of the same patent family and share a specification. This brief cites
the ’381 patent unless otherwise stated.

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Detector in PLL,” “Phaselock Techniques,” “Digital signal processing for an adaptive phase-

locked loop controller,” and “Time to Digital Converter used in All Digital PLL”).

       The claims of the Asserted Patents repackage these conventional components and known

methods for synchronizing signals. For example, the ’381 patent and ’286 patent claim methods

of processing data streams using an FPGA and phase locked loop to process market and order data.

The ’286 patent’s method entails “receiving” certain data and signals at an “interface,” or an intake

point on the chip. From there, the method includes “transmitting,” “generating,” and “converting”

steps that move the data and signals throughout the FPGA. The steps include “transmitting” signals

to a “phase detector” to adjust clock differences. After the data and signals are transmitted to

generic “computational circuitry,” that computational circuitry performs unnamed operations on

the data. Ultimately, the data is then transmitted by the FPGA. See Ex. 2, ’286 patent at

28:14-29:15. The method specified by the ’381 patent is similar. See Ex. 1, ’381 patent at 28:22-25.

       The system claims of the ’305 patent repackage these conventional components and known

methods for synchronizing signals, framing the claim as an FPGA and a phase control circuit

capable of carrying out steps like those in the method claims. See Ex. 3, ’305 patent at 28:9-29:49.

The FPGA is made up of (1) an “interface,” which brings data in from outside the FPGA; (2) a

“deserializer,” which converts data from a single stream into multiple data streams that can be

transmitted in parallel to each other; (3) computational circuitry, which performs operations on the

data; and (4) a “serializer,” which turns the parallel data streams back into a single stream. See id.

at 28:9-29:16. The phase control circuit, meanwhile, is separate from the FPGA, and ensures the

data transmitted from the FPGA stays phase-aligned with the clock data brought into the FPGA.

See id. at 29:16-48. None of these components are new.




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                                          ARGUMENT

I.     THE CLAIMS OF THE ASSERTED PATENTS ARE NOT PATENT ELIGIBLE

       “[A]bstract ideas are not patentable” under 35 U.S.C. § 101. Alice Corp. Pty. Ltd. v. CLS

Bank Int’l, 573 U.S. 208, 216 (2014). Courts evaluate claims challenged under § 101 by applying

a two-step framework set forth by the Supreme Court. See id. at 216-24. First, the court determines

“whether the claims at issue are directed to a patent-ineligible concept,” namely, laws of nature,

natural phenomena, and abstract ideas. Id. at 217. Second, the court “consider[s] the elements of

each claim both individually and as an ordered combination to determine whether the additional

elements transform the nature of the claim into a patent-eligible application.” Id. (internal

quotation marks omitted). The Supreme Court has “described step two of this analysis as a search

for an ‘inventive concept—i.e., an element or combination of elements that is sufficient to ensure

that the patent in practice amounts to significantly more than a patent upon the ineligible concept

itself.” Id. at 217-218 (cleaned up). “Those ‘additional features’ must be more than ‘well-

understood, routine, conventional activity.’” Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 715

(Fed. Cir. 2014).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. See Bilski v. Kappos, 561

U.S. 593, 602 (2010). Patent eligibility is “a question of law, based on underlying facts” and

evaluated according to Federal Circuit law. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166

(Fed. Cir. 2018). The Federal Circuit has “repeatedly recognized that in many cases it is possible

and proper to determine patent eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.”

Genetic Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369, 1373 (Fed. Cir. 2016); see also, e.g.,

ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 773-75 (Fed. Cir. 2019) (affirming

dismissal under Rule 12(b)(6)).



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        A.      Alice Step 1: The Claims Are Directed to the Abstract Idea of Synchronizing
                Signals

        Step 1 of the Alice framework asks whether the claims are “directed to” a patent-ineligible

concept. The Federal Circuit has “described the first-stage inquiry as looking at the focus of the

claims, ‘their character as a whole’.” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353

(Fed. Cir. 2016).

        The claims of the Asserted Patents are directed to an abstract idea—namely the idea of

synchronizing data processing with a clock. See Ex. 1, ’381 patent at claim 1 (steps include

“receiving . . . a clock signal,” “generating . . . a receiver side clock signal,” “transmitting . . . the

receiver side clock signal,” “generating . . . a second clock signal,” and “generating . . . a

transmitter side clock signal”); Ex. 2, ’286 patent at claim 1 (steps include “receiving . . . a first

clock signal,” “providing . . . a clock signal,” “generating . . . a first receiver side clock signal,”

“transmitting . . . the first receiver side clock signal,” “generating . . . a second clock signal,”

“generating . . . a first transmitter side clock signal,” “transmitting . . . the first transmitter side

clock signal”); Ex. 3, ’305 patent at claim 1 (FPGA “configured to,” for example, “receive,”

“transmit,” “convert,” “generate,” and “perform . . . operations” on data and signals, phase control

circuit “configured to,” for example, “compare,” “generate,” “receive,” and “transmit” data and

signals).

        Each claim at its core is about moving data through conventional computer processing

components in synchronization with clock signals. It is well-established that mere manipulation of

data is an abstract idea. See, e.g., Beteiro, LLC v. DraftKings Inc., 104 F.4th 1350, 1355-56 (Fed.

Cir. 2024) (claims directed to “detecting information, generating and transmitting a notification

based on the information, . . . , and processing information” are not patent eligible); iLife Techs.,

Inc. v. Nintendo of Am., Inc., 839 F. App’x 534, 536 (Fed. Cir. 2021) (“We have routinely held


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that claims directed to gathering and processing data are directed to an abstract idea.”); SAP, 898

F.3d at 1167 (“The focus of the claims . . . is on selecting certain information, analyzing it using

mathematical techniques, and reporting or displaying the results of the analysis. That is all

abstract.”); Glasswall Solutions Ltd. v. Clearswift Ltd., 754 F. App’x 996, 998 (Fed. Cir. 2018)

(“The claims merely require the conventional manipulation of information by a computer. We

have often held similar conventional data manipulation to be abstract.”); Intellectual Ventures I

LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017) (“We have held other patent

claims ineligible under § 101 for reciting similar data manipulation steps.”); Affinity Labs of Texas,

LLC v. DIRECTV, LLC, 838 F.3d 1253, 1261 (Fed. Cir. 2016) (“the conveyance and manipulation

of information using wireless communication and computer technology” is an abstract idea); Elec.

Power, 830 F.3d at 1353 (“Information as such is an intangible” so manipulating data, “including

when limited to particular content (which does not change its character as information), [i]s within

the realm of abstract ideas.”); Gottschalk v. Benson, 409 U.S. 63, 65-73 (1972) (method of

“converting signals” using mathematical operations is not patent eligible).

       The claims’ use of basic electronic hardware to carry out their function cannot bar a finding

that the claims go to abstract ideas. See, e.g., Ex. 1, ’381 at claim 1 (well-known components

include “field programmable gate array,” “deserializer,” “phase lock loop,” and “computational

circuitry”). For example, in Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935 F.3d 1341, 1348

(Fed. Cir. 2019), the Federal Circuit held that a patent claiming a device and method for

communicating a garage door’s status (i.e., whether it was open or shut) was directed to an abstract

idea, even though the claims had a physical component. See id. The “mere physical nature of” a

claim’s elements are “not enough to save the claims from abstractness” where such claims “us[e]

off-the-shelf technology for its intended purpose.” See id.



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       Indeed, in Alice itself, the Supreme Court held that “the fact that a computer necessarily

exists in the physical, rather than purely conceptual, realm, is beside the point.” Alice, 573 U.S. at

224 (cleaned up). That the method claims in the Asserted Patents require the use of physical

hardware does not change that they are ultimately directed to the abstract idea of data manipulation.

See Am. Axle & Mfg., Inc. v. Neapco Holdings LLC, 967 F.3d 1285, 1293 & n.3 (Fed. Cir. 2020)

(method of manufacturing car parts directed to an abstract idea). The fact that the ’305 patent

requires a physical device likewise does not change the analysis—the claims are directed to the

abstract idea of data manipulation regardless of whether a physical device is used in effecting the

manipulation. See ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 770 (Fed. Cir. 2019)

(claim is not patent eligible even though “the abstract idea is associated with a physical machine

that is quite tangible—an electric vehicle charging station”).

       Redwood Techs., LLC v. Netgear, Inc., 738 F. Supp. 3d 511, 524-25 (D. Del. 2024) is

illustrative. There, the disputed patents claimed a variety of improvements to wireless

communications systems, including a particular circuit. See id. at 525 (describing “modulator

circuit . . . configured to send a signal” based on incoming data). The court found that the claim of

the circuit was directed towards an abstract idea because the concepts underlying the device were

“well-known in the art,” and therefore “fail[ed] to recite an improvement in computer-related

technology.” So too, here, the physical device claimed in the ’305 patent does not undermine the

conclusion that the claim is of an abstract idea. See also WiTricity Corp. v. Momentum Dynamics

Corp., 563 F. Supp. 3d 309, 316 (D. Del. 2021) (claims to apparatus including an “optimizing

circuit” were abstract).

       The results-focused functional language employed by the claims of the Asserted Patents

confirms the claims’ abstract nature. The claims require the functional results of “receiving,”



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“generating,” “converting,” “transmitting,” and “performing . . . operations,” but do “not

sufficiently describe how to achieve these results in a non-abstract way.” Two-Way Media Ltd. v.

Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017); Affinity Labs of Tex., LLC

v. DIRECTV, LLC, 838 F.3d 1253, 1258-59 (Fed. Cir. 2016) (claims abstract where they involved

“the function of wirelessly communicating regional broadcast content to an out-of-region

recipient,” without specifying “a particular way of performing that function”). For example, the

claims of each of the Asserted Patents require “performing . . . a set of operations” on data using

“computational circuitry.” Ex. 1, ’381 patent at 28:42-45; Ex. 2, ’286 patent at 29:3-6; Ex. 3, ’305

patent at 28:46-54. But the claims do not specify how that step is achieved, including what type of

“operations” are involved, how they are performed, or what the “computational circuitry” entails.

       Nor do the claims use any “inventive technology for performing those functions.” Elec.

Power, 830 F.3d at 1354. There is nothing in the claim language or specification that indicates that

the claimed components have any new capabilities beyond performing the generic functional steps

of receiving, generating, converting, and transmitting data in a known and conventional manner.

And any alleged benefit from practicing the claims flows from implementing the abstract idea

using conventional devices as tools, not from any improvement to the capability of the components

(e.g., a field programmable gate array and a phase lock loop) themselves. The claims simply utilize

off-the-shelf, already-known components. See BSG Tech LLC v. BuySeasons, Inc., 899 F.3d 1281,

1288 (Fed. Cir. 2018) (“These benefits, however, are not improvements to database functionality.

Instead, they are benefits that flow from performing an abstract idea in conjunction with a well-

known database structure.”); see also § I.B below.

       At best, the Asserted Patents suggest that having a “clock domain crossing circuit . . .

creates a technical problem” to be solved, because such circuits can create delays in data



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processing. Ex. 1 at 10:34-34; see also id. at 1:46-52 (“The prior art sought to address this problem

by including a clock domain crossing circuit in the FPGA, however, these circuits inherently add

a delay to the processing that takes place in the FPGA, which is not desirable since high frequency

trading may include time-stamps that are accurate to the microsecond such that even small delays

may present a large problem.”). The claims themselves acknowledge, however, that the Asserted

Patents do not solve any technical problem relating to the use of clock domain crossing circuits;

instead, the claims avoid the use of clock domain crossing circuits altogether. Ex. 1, ’381 patent

at 28:49-51 (“said method does not use clock domain crossing operations that delay processing of

the first set of parallel data streams”); see also Ex. 2, ’286 patent at 29:40-43 (“wherein the first

set of operations does not include clock domain crossing operations that delay processing of the

first set of parallel data streams”); Ex. 3, ’305 patent at 28:53-54 (“without use of a clock domain

crossing circuit”).

       Simply repackaging the problem to be solved (clock domain crossing creates delays) as the

solution to the problem (do not use clock domain operations that create delays) does nothing to

advance the claims beyond the realm of abstract ideas. See Am. Axle, 967 F.3d at 1295 (“The

Supreme Court has long held that claims that state a goal without a solution are patent ineligible.”);

ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) (“the specification

cannot be used to import details from the specification if those details are not claimed”); SAP, 898

F.3d at 1167 (claims lack “specificity required to transform a claim from one claiming only a result

to one claiming a way of achieving it”); WiTricity, 563 F. Supp. 3d at 320. This is especially true

where the patents’ alternative to clock domain crossing circuits, i.e., phase lock loops, are well-

known, as discussed below in the next section.




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       In sum, the focus of the claims is basic data manipulation using conventional, off-the-shelf

components. That is an abstract idea, fundamentally ineligible for patent protection.

       B.      Alice Step 2: The Claims Are Implemented Using Generic Computer
               Components in a Conventional Way

       At step two, the Court “consider[s] the elements of each claim both individually and as an

ordered combination to determine whether the additional elements transform the nature of the

claim into a patent-eligible application.” Id. (internal quotation marks omitted). “These

transformative elements must supply an ‘inventive concept’ that ensures the patent amounts to

‘significantly more than a patent upon the [ineligible concept] itself.’” BSG Tech LLC v.

Buyseasons, Inc., 899 F.3d 1281, 1289-90 (Fed. Cir. 2018). Thus, claims must include “‘additional

features’ [that] must be more than ‘well-understood, routine, conventional activity.’”

Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 715 (Fed. Cir. 2014) (11-step method of sending

information invalid). “The appropriate question is not whether the entire claim as a whole was

‘well-understood, routine [and] conventional’” but instead whether, “apart from” the abstract idea,

the additional elements add anything inventive. Chamberlain Grp., Inc. v. Techtronic Indus. Co.,

935 F.3d 1341, 1348-49 (Fed. Cir. 2019) (emphasis added).

       The claims of the Asserted Patents lack any inventive concept. As an initial matter, the

abstract idea itself cannot supply the inventive concept. See, e.g., ChargePoint, Inc. v.

SemaConnect, Inc., 920 F.3d 759, 774 (Fed. Cir. 2019) (“a claimed invention’s use of the ineligible

concept to which it is directed cannot supply the inventive concept”); SAP, 898 F.3d at 1168

(“What is needed is an inventive concept in the non-abstract application realm.”).

       The claims add nothing to the abstract idea of data processing except generic and

conventional components—a field programmable gate array and a phase lock loop, a phase control

circuit, or a phase detector. These components were well-known and in widespread use well before


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the Asserted Patents. The background of the Asserted Patents acknowledges that it was known that

“FPGAs[] may be used in applications that require fast processing since FPGAs allow for all

computations to occur on a single chip that has massive fine-grained parallelism.” Ex. 2 at 1:31-34.

Indeed, the Asserted Patents concede that, at the time of the invention, FPGAs were already being

“used in the financial industry in high frequency trading.” Id. at 1:35-35, and disclose that

numerous FPGAs were commercially available, including “XCVU3P-2FFVC1517E, Intel

1SG280LH3F55E3VG, Xilinx XCVU9P-2FLGA2104E the Vitrex® Ultrascale, the Vitrex®

Ultrascale Plus, the Stratix® V, the Stratix® 10, XILINX XC3042, the Intel EP4CE6E22C8LN

and the Lattice ICE40LP384-SG32, to name a few.” Id. at 9:23-28. The Asserted Patents do not

purport to improve the functionality of FPGAs themselves but instead carry out abstract ideas

using generic, off-the-shelf FPGAs. See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1169-70

(Fed. Cir. 2018) (“these limitations require no improved computer resources InvestPic claims to

have invented, just already available computers, with their already available basic functions, to use

as tools in executing the claimed process”). The complaint reinforces that the claims call for

nothing other than conventional, pre-existing FPGAs—the accused products use a Vitrex®

UltraScale+ FPGA, an FPGA also listed in the Asserted Patents as being “currently available.”

Compare Dkt. 1-4 at 2 to Ex. 2 at 9:26.

       The phase lock loop, phase control circuit, and phase detector used in the claims are

similarly conventional, off-the-shelf components being used in a typical manner. Although the

Asserted Patents use different names to identify these three components, HFT points to the same

widely available computer chip as satisfying those limitations; namely, the Si5346. See Dkt. 1-4

at 11-13 (identifying Si5346 as “phase detector”); Dkt. 1-5 at 15-16 (identifying Si5346 as “phase

control circuit”); Dkt. 1-6 at 13 (identifying Si5346 as “phase lock loop”). Based on the data sheet



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HFT cites in the complaint, Si5346 was available in 2015, well before the Asserted Patents were

filed in 2020, 2021, and 2022. See https://docs.rs-online.com/9a98/0900766b81411ff1.pdf at 1

(cited in Dkt. 1-4 at 11-13, Dkt. 1-6 at 12-13). Likewise, the Asserted Patents disclose that the

commercially available “SI571 VXCO” can be used, Ex. 2 at 21:56-59, and that other phase lock

loops were known, id. at 2 (prior-art references include “Phase Frequency Detector in PLL,”

“Phaselock Techniques,” “Digital signal processing for an adaptive phase-locked loop controller,”

and “Time to Digital Converter used in All Digital PLL”). The Asserted Patents do not purport to

have invented an improved phase lock loop but instead utilize these already-known components

to implement abstract ideas. See SAP, 898 F.3d at 1169-70.

        Likewise, the other components named in the claims are conventional, basic building

blocks of field programmable gate arrays and circuits—components such as data pins, clock pins,

output pins, deserializers, serializers, adjustable oscillators, and computational circuitry. See, e.g.,

Ex. 2 at 13:18-31 (listing commercially available adjustable oscillators). And the Asserted Patents

do not contend that they are improvements to these generic building blocks. See Elec. Power, 830

F.3d at 1355 (“The claims at issue do not require any nonconventional computer . . .

components.”).

        Nor does “limiting the claims to the particular technological environment of” high

frequency trading “transform them into patent-eligible applications of the abstract idea at their

core.” Elec. Power, 830 F.3d at 1354; see also SAP, 898 F.3d at 1169 (“[L]imitation of the claims

to a particular field of information—here, investment information—does not move the claims out

of the realm of abstract ideas.”). Thus, the claims’ invocation of “market data” does not supply an

inventive concept. E.g., Ex. 2, ’286 patent at claim 1 (“a first serial data stream comprising market




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data”; “a second serial data stream comprising order entry data”), claim 20 (“second serial data

stream includes trading data”); Ex. 1, ’381 patent at claims 2-3; Ex. 3, ’305 patent at claims 20-22.

        There is also nothing about the order combination of the claims’ elements that supplies an

inventive concept. Even considered together, each of the conventional components are used in

precisely the conventional way they are meant to be used. The complaint makes that clear. The

complaint alleges that the claimed phase lock loop is the Si5347, which, according to a data sheet

provided by HFT, is a circuit that “integrates” phase lock loops to ensure output clocks are

synchronized in frequency and phase with input clocks. Dkt. 1-4 at 15-16. In other words, the

Si5347 is being put to use in exactly the way it was designed and intended to be used, and,

according to HFT, in the same way as the claimed phase lock loop operates in the claims.

Accordingly, synchronizing clock signals using a phase lock loop (like the Si5347) “was

conventional at the time the patent was filed and could be performed with off-the-shelf

technology.” Chamberlain, 935 F.3d at 1349. Any latency benefits achieved from using a phase

lock loop simply “flow from performing an abstract idea in conjunction with [] well-known”

components designed and intended to work together. BSG Tech LLC v. Buyseasons, Inc., 899 F.3d

1281, 1288 (Fed. Cir. 2018) (abstract idea of using comparison data in a database not patent

eligible).

        C.     The Other Claims of the Asserted Patents Are Also Patent Ineligible

        Claim 1 of the ’381 patent and claim 1 of the ’286 patent are representative of the patents

as a whole, as the claims closely resemble each other and are based on the same abstract idea. See

Mobile Acuity Ltd. v. Blippar Ltd., 110 F.4th 1280, 1290 (Fed. Cir. 2024) (“Limiting the analysis

of a § 101 challenge to representative claims is proper when the claims at issue are ‘substantially

similar and linked to the same’ ineligible concept.”). In addition, the complaint discusses only



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claim 1 of the asserted patents. See Dkt. 1 at ¶¶ 23 (Count 1), 23 (Count 3); Dkt. 1-4 (claim 1 only);

Dkt. 1-6 (claim 1 only).

       Even if considered, the dependent claims of the Asserted Patents do not add limitations

that make these claims patent eligible. For example, certain dependent claims specify the number

of data streams used in the methods, which only reinforces that these claims are directed to the

abstract idea of data manipulation. See Ex. 1, ’381 patent at claims 9-10; Ex. 2, ’286 patent at

claims 11-15; Ex. 3, ’305 patent at claims 9-15. Similarly, other dependent claims describe the

order of certain data-manipulation operations. See Ex. 1, ’381 patent at claims 4-7; Ex. 2, ’286

patent at claims 16-18. None of these dependent claims either shift the focus from an abstract idea

or add an inventive concept.

                                          CONCLUSION

       Citadel requests that the Court determine that the claims of the Asserted Patents are not

patent eligible and dismiss the complaint with prejudice.




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Dated: April 7, 2025                Respectfully submitted,

                                    /s/Meg E. Fasulo
                                    Sean W. Gallagher (IL Bar No. 6239367)
                                    Mark L. Levine (IL Bar No. 6201501)
                                    Nevin M. Gewertz (IL Bar No. 6306008)
                                    Meg E. Fasulo (IL Bar No. 6320595)
                                    Rachel Smith (pro hac vice)
                                    BARTLIT BECK LLP
                                    54 West Hubbard Street, Suite 300
                                    Chicago, IL 60654
                                    Telephone: (312) 494-4400
                                    sean.gallagher@bartlitbeck.com
                                    adam.hoeflich@bartlitbeck.com
                                    mark.levine@bartlitbeck.com
                                    nevin.gewertz@bartlitbeck.com
                                    meg.fasulo@bartlitbeck.com
                                    rachel.smith@bartlitbeck.com

                                    Attorneys for Defendant Citadel Securities LLC




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